        Case 3:17-cr-00416-L          Document 112         Filed 12/12/17        Page 1 of 1       PageID 214
                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
v.                                                         §    CASE NO.: 3:17-CR-00416-L
                                                           §
TERANCE ROSS JOHNSON (5)                                   §


                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         TERANCE ROSS JOHNSON, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), h~!lk>ReaAed befoy: me,p,Y,rsuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Seven of the
Indictmeri~~ft'fn. c~M~ing tRli examining TERANCE ROSS JOHNSON under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged
is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that TERANCE ROSS JOHNSON be adjudged guilty of 18 U.S.C. §
1951(a) and 2, namely, Interference with Commerce by Robbery and have sentence imposed accordingly. After being
fou~uilty ofthe offense by the district judge,


t{'"    The defendant is currently in custody and should be ordered to remain in custody.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        0       The Government does not oppose release.
        0       The defendant has been compliant with the current conditions of release.
        0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstance re early shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by                  convincing
        evidence that the defendant is not likely to flee or pose a danger to an~ther pe  or the co          if released.

Date:   12th day of December, 2017




Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).
